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Acceptance of Terms and Conditions

If you receive a payment from funds appropriated in the Public Health and Social Services
Emergency Fund for provider relief (“Relief Fund”) under Public Law 116-136 and retain that
payment for at least 30 days without contacting HHS regarding remittance of those funds, you
are deemed to have accepted the following Terms and Conditions. Please also indicate your
acceptance below. This is not an exhaustive list and you must comply with any other relevant
statutes and regulations, as applicable.

Your commitment to full compliance with all Terms and Conditions is material to the Secretary’s
decision to disburse these funds to you. Non-compliance with any Term or Condition is grounds
for the Secretary to recoup some or all of the payment made from the Relief Fund.

These Terms and Conditions apply directly to the recipient of payment from the Relief Fund. In
general, the requirements that apply to the recipient also apply to subrecipients and contractors,
unless an exception is specified.



    Relief Fund Payment from Initial $30 Billion General Distribution Terms and Conditions

       The “Payment” means the funds received from the Public Health and Social Services
        Emergency Fund (“Relief Fund”). The Recipient means the healthcare provider, whether
        an individual or an entity, receiving the Payment.
       The Recipient certifies that it billed Medicare in 2019; provides or provided after January
        31, 2020 diagnoses, testing, or care for individuals with possible or actual cases of
        COVID-19; is not currently terminated from participation in Medicare or precluded from
        receiving payment through Medicare Advantage or Part D; is not currently excluded from
        participation in Medicare, Medicaid, and other Federal health care programs; and does
        not currently have Medicare billing privileges revoked.
       The Recipient certifies that the Payment will only be used to prevent, prepare for, and
        respond to coronavirus, and that the Payment shall reimburse the Recipient only for
        health care related expenses or lost revenues that are attributable to coronavirus.
       The Recipient certifies that it will not use the Payment to reimburse expenses or losses
        that have been reimbursed from other sources or that other sources are obligated to
        reimburse.
       The Recipient shall submit reports as the Secretary determines are needed to ensure
        compliance with conditions that are imposed on this Payment, and such reports shall be
        in such form, with such content, as specified by the Secretary in future program
        instructions directed to all Recipients.




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    The Recipient certifies that all information it provides as part of its application for the
     Payment, as well as all information and reports relating to the Payment that it provides in
     the future at the request of the Secretary or Inspector General, are true, accurate and
     complete, to the best of its knowledge. The Recipient acknowledges that any deliberate
     omission, misrepresentation, or falsification of any information contained in this Payment
     application or future reports may be punishable by criminal, civil, or administrative
     penalties, including but not limited to revocation of Medicare billing privileges, exclusion
     from federal health care programs, and/or the imposition of fines, civil damages, and/or
     imprisonment.
    Not later than 10 days after the end of each calendar quarter, any Recipient that is an
     entity receiving more than $150,000 total in funds under the Coronavirus Aid, Relief, and
     Economics Security Act (P.L. 116-136), the Coronavirus Preparedness and Response
     Supplemental Appropriations Act (P.L. 116-123), the Families First Coronavirus
     Response Act (P.L. 116-127), or any other Act primarily making appropriations for the
     coronavirus response and related activities, shall submit to the Secretary and the
     Pandemic Response Accountability Committee a report. This report shall contain: the
     total amount of funds received from HHS under one of the foregoing enumerated Acts;
     the amount of funds received that were expended or obligated for reach project or
     activity; a detailed list of all projects or activities for which large covered funds were
     expended or obligated, including: the name and description of the project or activity, and
     the estimated number of jobs created or retained by the project or activity, where
     applicable; and detailed information on any level of sub-contracts or subgrants awarded
     by the covered recipient or its subcontractors or subgrantees, to include the data elements
     required to comply with the Federal Funding Accountability and Transparency Act of
     2006 allowing aggregate reporting on awards below $50,000 or to individuals, as
     prescribed by the Director of the Office of Management and Budget.
    The Recipient shall maintain appropriate records and cost documentation including, as
     applicable, documentation described in 45 CFR § 75.302 – Financial management and 45
     CFR § 75.361 through 75.365 – Record Retention and Access, and other information
     required by future program instructions to substantiate the reimbursement of costs under
     this award. The Recipient shall promptly submit copies of such records and cost
     documentation upon the request of the Secretary, and Recipient agrees to fully cooperate
     in all audits the Secretary, Inspector General, or Pandemic Response Accountability
     Committee conducts to ensure compliance with these Terms and Conditions.
    The Secretary has concluded that the COVID-19 public health emergency has caused
     many healthcare providers to have capacity constraints. As a result, patients that would
     ordinarily be able to choose to receive all care from in-network healthcare providers may
     no longer be able to receive such care in-network. Accordingly, for all care for a
     presumptive or actual case of COVID-19, Recipient certifies that it will not seek to
     collect from the patient out-of-pocket expenses in an amount greater than what the patient
     would have otherwise been required to pay if the care had been provided by an in-
     network Recipient.




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The following statutory provisions also apply:

General Provisions in FY 2020 Consolidated Appropriation

SEC. 202. Executive Pay. None of the funds appropriated in this title shall be used to pay the
salary of an individual, through a grant or other extramural mechanism, at a rate in excess of
Executive Level II:

SEC. 210. Funding Prohibition for Gun Control Advocacy. None of the funds made available
in this title may be used, in whole or in part, to advocate or promote gun control.

SEC. 503. Lobbying

 (a) No part of any appropriation contained in this Act or transferred pursuant to section 4002 of
Public Law 111–148 shall be used, other than for normal and recognized executive-legislative
relationships, for publicity or propaganda purposes, for the preparation, distribution, or use of
any kit, pamphlet, booklet, publication, electronic communication, radio, television, or video
presentation designed to support or defeat the enactment of legislation before the Congress or
any State or local legislature or legislative body, except in presentation to the Congress or any
State or local legislature itself, or designed to support or defeat any proposed or pending
regulation, administrative action, or order issued by the executive branch of any State or local
government, except in presentation to the executive branch of any State or local government
itself.

(b) No part of any appropriation contained in this Act or transferred pursuant to section 4002 of
Public Law 111–148 shall be used to pay the salary or expenses of any grant or contract
recipient, or agent acting for such recipient, related to any activity designed to influence the
enactment of legislation, appropriations, regulation, administrative action, or Executive order
proposed or pending before the Congress or any State government, State legislature or local
legislature or legislative body, other than for normal and recognized executive-legislative
relationships or participation by an agency or officer of a State, local or tribal government in
policymaking and administrative processes within the executive branch of that government.

 (c) The prohibitions in subsections (a) and (b) shall include any activity to advocate or promote
 any proposed, pending or future Federal, State or local tax increase, or any proposed, pending,
 or future requirement or restriction on any legal consumer product, including its sale or
 marketing, including but not limited to the advocacy or promotion of gun control.

SEC. 506. Prohibits Use of Federal Funds for Abortions.




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(a) None of the funds appropriated in this Act, and none of the funds in any trust fund to which
funds are appropriated in this Act, shall be expended for any abortion.

(b) None of the funds appropriated in this Act, and none of the funds in any trust fund to which
funds are appropriated in this Act, shall be expended for health benefits coverage that includes
coverage of abortion.

(c) The term ‘‘health benefits coverage’’ means the package of services covered by a managed
care provider or organization pursuant to a contract or other arrangement.

SEC. 507 Limitations on Abortion Funding Prohibition

(a) The limitations established in the preceding section shall not apply to an abortion—

(1) if the pregnancy is the result of an act of rape or incest; or

(2) in the case where a woman suffers from a physical disorder, physical injury, or physical
illness, including a life-endangering physical condition caused by or arising from the pregnancy
itself, that would, as certified by a physician, place the woman in danger of death unless an
abortion is performed.

(b) Nothing in the preceding section shall be construed as prohibiting the expenditure by a State,
locality, entity, or private person of State, local, or private funds (other than a State’s or locality’s
contribution of Medicaid matching funds).

(c) Nothing in the preceding section shall be construed as restricting the ability of any managed
care provider from offering abortion coverage or the ability of a State or locality to contract
separately with such a provider for such coverage with State funds (other than a State’s or
locality’s contribution of Medicaid matching funds).

(d)(1) None of the funds made available in this Act may be made available to a Federal agency
or program, or to a State or local government, if such agency, program, or government subjects
any institutional or individual health care entity to discrimination on the basis that the health care
entity does not provide, pay for, provide coverage of, or refer for abortions.

 (2) In this subsection, the term ‘‘health care entity’’ includes an individual physician or other
 health care professional, a hospital, a provider-sponsored organization, a health maintenance
 organization, a health insurance plan, or any other kind of health care facility, organization, or
 plan.

Prohibits Use of Funds for Embryo Research

SEC. 508. Prohibits Use of Funds for Embryo Research



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(a) None of the funds made available in this Act may be used for—

(1) the creation of a human embryo or embryos for research purposes; or

(2) research in which a human embryo or embryos are destroyed, discarded, or knowingly
subjected to risk of injury or death greater than that allowed for research on fetuses in utero
under 45 CFR 46.204(b) and section 498(b) of the Public Health Service Act (42 U.S.C.
289g(b)).

(b) For purposes of this section, the term ‘‘human embryo or embryos’’ includes any organism,
not protected as a human subject under 45 CFR 46 as of the date of the enactment of this Act,
that is derived by fertilization, parthenogenesis, cloning, or any other means from one or more
human gametes or human diploid cells.

SEC. 509. Prohibits Promotion of Legalization of Controlled Substances

(a) None of the funds made available in this Act may be used for any activity that promotes the
legalization of any drug or other substance included in schedule I of the schedules of controlled
substances established by section 202 of the Controlled Substances Act except for normal and
recognized executive-congressional communications.

(b) The limitation in subsection (a) shall not apply when there is significant medical evidence of
a therapeutic advantage to the use of such drug or other substance or that federally sponsored
clinical trials are being conducted to determine therapeutic advantage.

SEC. 515. (b) Prohibits Asking Candidates for Federal Scientific Advisory Committees Their
Political Affiliations; Prohibits Distribution of Intentionally False Information

 (b) None of the funds made available in this Act may be used to disseminate information that is
 deliberately false or misleading.

SEC. 520. Pornography.

 (a) None of the funds made available in this Act may be used to maintain or establish a
computer network unless such network blocks the viewing, downloading, and exchanging of
pornography.

 (b) Nothing in subsection (a) shall limit the use of funds necessary for any Federal, State, tribal,
 or local law enforcement agency or any other entity carrying out criminal investigations,
 prosecution, or adjudication activities.

SEC. 521. Prohibits Funding ACORN or Its Affiliates or Subsidiaries. None of the funds
made available under this or any other Act, or any prior Appropriations Act, may be provided to



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the Association of Community Organizations for Reform Now (ACORN), or any of its affiliates,
subsidiaries, allied organizations, or successors.

SEC. 527. Prohibits Federal Funding for Needle Exchange Except in Limited
Circumstances. Notwithstanding any other provision of this Act, no funds appropriated in this
Act shall be used to purchase sterile needles or syringes for the hypodermic injection of any
illegal drug: Provided, That such limitation does not apply to the use of funds for elements of a
program other than making such purchases if the relevant State or local health department, in
consultation with the Centers for Disease Control and Prevention, determines that the State or
local jurisdiction, as applicable, is experiencing, or is at risk for, a significant increase in
hepatitis infections or an HIV outbreak due to injection drug use, and such program is operating
in accordance with State and local law.

Government-wide General Provisions

SEC. 718. Propaganda. No part of any appropriation contained in this or any other Act shall be
used directly or indirectly, including by private contractor, for publicity or propaganda purposes
within the United States not heretofore authorized by the Congress.

SEC. 732. Privacy Act. None of the funds made available in this Act may be used in
contravention of section 552a of title 5, United States Code (popularly known as the Privacy
Act), and regulations implementing that section.

SEC. 742. Confidentiality Agreements.

(a) None of the funds appropriated or otherwise made available by this or any other Act may be
available for a contract, grant, or cooperative agreement with an entity that requires employees or
contractors of such entity seeking to report fraud, waste, or abuse to sign internal confidentiality
agreements or statements prohibiting or otherwise restricting such employees or contactors from
lawfully reporting such waste, fraud, or abuse to a designated investigative or law enforcement
representative of a Federal department or agency authorized to receive such information.

 (b) The limitation in subsection (a) shall not contravene requirements applicable to Standard
 Form 312, Form 4414, or any other form issued by a Federal department or agency governing
 the nondisclosure of classified information.

SEC. 743. Nondisclosure Agreements

(a) No funds appropriated in this or any other Act may be used to implement or enforce the
agreements in Standard Forms 312 and 4414 of the Government or any other nondisclosure
policy, form, or agreement if such policy, form, or agreement does not contain the following
provisions: “These provisions are consistent with and do not supersede, conflict with, or



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otherwise alter the employee obligations, rights, or liabilities created by existing statute or
Executive order relating to (1) classified information, (2) communications to Congress, (3) the
reporting to an Inspector General of a violation of any law, rule, or regulation, or
mismanagement, a gross waste of funds, an abuse of authority, or a substantial and specific
danger to public health or safety, or (4) any other whistleblower protection. The definitions,
requirements, obligations, rights, sanctions, and liabilities created by controlling Executive
orders and statutory provisions are incorporated into this SEC. 743. (a) No funds appropriated in
this or any other Act may be used to implement or enforce the agreements in Standard Forms
312 and 4414 of the Government or any other nondisclosure policy, form, or agreement if such
policy, form, or agreement does not contain the following provisions: “These provisions are
consistent with and do not supersede, conflict with, or otherwise alter the employee obligations,
rights, or liabilities created by existing statute or Executive order relating to (1) classified
information, (2) communications to Congress, (3) the reporting to an Inspector General of a
violation of any law, rule, or regulation, or mismanagement, a gross waste of funds, an abuse of
authority, or a substantial and specific danger to public health or safety, or (4) any other
whistleblower protection. The definitions, requirements, obligations, rights, sanctions, and
liabilities created by controlling Executive orders and statutory provisions are incorporated into
this agreement and are controlling.”: Provided, That notwithstanding the preceding provision of
this section, a nondisclosure policy form or agreement that is to be executed by a person
connected with the conduct of an intelligence or intelligence-related activity, other than an
employee or officer of the United States Government, may contain provisions appropriate to the
particular activity for which such document is to be used. Such form or agreement shall, at a
minimum, require that the person will not disclose any classified information received in the
course of such activity unless specifically authorized to do so by the United States Government.
Such nondisclosure forms shall also make it clear that they do not bar disclosures to Congress, or
to an authorized official of an executive agency or the Department of Justice, that are essential to
reporting a substantial violation of law.

(b) A nondisclosure agreement may continue to be implemented and enforced notwithstanding
subsection (a) if it complies with the requirements for such agreement that were in effect when
the agreement was entered into.

(c) No funds appropriated in this or any other Act may be used to implement or enforce any
agreement entered into during fiscal year 2014 which does not contain substantially similar
language to that required in subsection (a).

SEC. 744. Unpaid Federal Tax Liability. None of the funds made available by this or any other
Act may be used to enter into a contract, memorandum of understanding, or cooperative
agreement with, make a grant to, or provide a loan or loan guarantee to, any corporation that has




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any unpaid Federal tax liability that has been assessed, for which all judicial and administrative
remedies have been exhausted or have lapsed, and that is not being paid in a timely manner
pursuant to an agreement with the authority responsible for collecting the tax liability, where the
awarding agency is aware of the unpaid tax liability, unless a Federal agency has considered
suspension or debarment of the corporation and has made a determination that this further action
is not necessary to protect the interests of the Government.

SEC. 745. Criminal Felony Limitation. None of the funds made available by this or any other
Act may be used to enter into a contract, memorandum of understanding, or cooperative
agreement with, make a grant to, or provide a loan or loan guarantee to, any corporation that was
convicted of a felony criminal violation under any Federal law within the preceding 24 months,
where the awarding agency is aware of the conviction, unless a Federal agency has considered
suspension or debarment of the corporation and has made a determination that this further action
is not necessary to protect the interests of the Government.


Other Appropriations Provisions

42 U.S.C. 289d note No funds appropriated under this Act or subsequent Departments of Labor,
Health and Human Services, and Education, and Related Agencies Appropriations Acts shall be
used by the National Institutes of Health, or any other Federal agency, or recipient of Federal
funds on any project that entails the capture or procurement of chimpanzees obtained from the
wild. For purposes of this section, the term ‘recipient of Federal funds’ includes private citizens,
corporations, or other research institutions located outside of the United States that are recipients
of Federal funds.

Other Statutory Provisions

Trafficking in Persons
This award is subject to the requirements of Section 106 (g) of the Trafficking Victims
Protection Act of 2000, as amended (22 U.S.C. 7104)

a. Provisions applicable to a recipient that is a private entity.
1. You as the recipient, your employees, subrecipients under this award, and subrecipients'
employees may not
i.       Engage in severe forms of trafficking in persons during the period of time that the award
         is in effect;
ii.      Procure a commercial sex act during the period of time that the award is in effect; or
iii.     Use forced labor in the performance of the award or subawards under the award.
2. We as the Federal awarding agency may unilaterally terminate this award, without penalty, if
you or a subrecipient that is a private entity –
i. Is determined to have violated a prohibition in paragraph a.1 of this award term; or




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ii. Has an employee who is determined by the agency official authorized to terminate the award
to have violated a prohibition in paragraph a.1 of this award term through conduct that is either-
A. Associated with performance under this award; or
B. Imputed to you or the subrecipient using the standards and due process for imputing the
conduct of an individual to an organization that are provided in 2 CFR part 180, "OMB
Guidelines to Agencies on Governmentwide Debarment and Suspension (Nonprocurement)," as
implemented by our agency at 2 CFR part 376.

b. Provision applicable to a recipient other than a private entity.
We as the Federal awarding agency may unilaterally terminate this award, without penalty, if a
subrecipient that is a private entity-
1. Is determined to have violated an applicable prohibition in paragraph a.1 of this award term; or
2. Has an employee who is determined by the agency official authorized to terminate the award
to have violated an applicable prohibition in paragraph a.1 of this award term through conduct
that is either
i. Associated with performance under this award; or
ii. Imputed to the subrecipient using the standards and due process for imputing the conduct of
an individual to an organization that are provided in 2 CFR part 180, "OMB Guidelines to
Agencies on Governmentwide Debarment and Suspension (Nonprocurement)," as implemented
by our agency at 2 CFR part 376

c. Provisions applicable to any recipient.
1. You must inform us immediately of any information you receive from any source alleging a
violation of a prohibition in paragraph a.1 of this award term
2. Our right to terminate unilaterally that is described in paragraph a.2 or b of this section:
i. Implements section 106(g) of the Trafficking Victims Protection Act of 2000 (TVPA), as
amended
(22 U.S.C. 7104(g)), and
ii. Is in addition to all other remedies for noncompliance that are available to us under this award.
3. You must include the requirements of paragraph a.1 of this award term in any subaward you
make
to a private entity.

d. Definitions. For purposes of this award term:
1. "Employee" means either:
i. An individual employed by you or a subrecipient who is engaged in the performance of the
project or program under this award; or
ii. Another person engaged in the performance of the project or program under this award and
not compensated by you including, but not limited to, a volunteer or individual whose services
are contributed by a third party as an in-kind contribution toward cost sharing or matching
requirements.
2. "Forced labor" means labor obtained by any of the following methods: the recruitment,
harboring, transportation, provision, or obtaining of a person for labor or services, through the




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use of force, fraud, or coercion for the purpose of subjection to involuntary servitude, peonage,
debt bondage, or slavery.
3. "Private entity":
i. Means any entity other than a State, local government, Indian tribe, or foreign public entity, as
those terms are defined in 2 CFR 175.25.
ii. Includes:
A. A nonprofit organization, including any nonprofit institution of higher education, hospital, or
tribal organization other than one included in the definition of Indian tribe at 2 CFR 175.25(b).
B A for-profit organization.
4. “Severe forms of trafficking in persons," "commercial sex act," and "coercion" have the
meanings given at section 103 of the TVPA, as amended (22 U.S.C. 7102)

Whistleblower Protections
You are hereby given notice that the 48 CFR section 3.908, implementing section 828, entitled
“Pilot
Program for Enhancement of Contractor Employee Whistleblower protections,” of the National
Defense Authorization Act (NDAA) for Fiscal Year (FY) 2013 (Pub. L. 112-239, enacted
January 2,
2013) applies to this award.

Human Subjects Protections
If any activities under this project will involve human subjects in any research activities, you
must provide satisfactory assurance of compliance with the participant protection requirement of
the HHS/OASH Office of Human Research Protection (OHRP) prior to implementation of those
research components. This assurance should be submitted to the OHRP in accordance with the
appropriate regulations.

Fraud, Abuse and Waste:
The HHS Inspector General accepts tips and complaints from all sources about potential fraud,
waste, abuse, and mismanagement in Department of Health and Human Services' programs.
Your information will be reviewed promptly by a professional staff member. Due to the high
volume of information that they receive, they are unable to reply to submissions. You may reach
the OIG through various channels.
Internet: https://forms.oig.hhs.gov/hotlineoperations/index.aspx
Phone: 1-800-HHS-TIPS (1-800-447-8477)
Mail: US Department of Health and Human Services
Office of Inspector General
ATTN: OIG HOTLINE OPERATIONS
PO Box 23489
Washington, DC 20026
For additional information visit https://oig.hhs.gov/fraud/report-fraud/index.asp




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